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 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     PAUL HAMMOND, individually and )                Case No.
11   on behalf of all others similarly situated, )
12                                               )   CLASS ACTION
     Plaintiff,                                  )
13
                                                 )   COMPLAINT FOR VIOLATIONS
14          vs.                                  )   OF:
                                                 )
15                                                      1.      NEGLIGENT VIOLATIONS
     WESTLAKE SERVICES, LLC d/b/a )
16                                                              OF THE TELEPHONE
     WESTLAKE FINANCIAL                          )              CONSUMER PROTECTION
17   SERVICES, and DOES 1 through 10, )                         ACT [47 U.S.C. §227 ET
     inclusive, and each of them,                )              SEQ.]
18                                                      2.      WILLFUL VIOLATIONS
                                                 )              OF THE TELEPHONE
19   Defendant.                                  )              CONSUMER PROTECTION
                                                 )              ACT [47 U.S.C. §227 ET
20                                                              SEQ.]
                                                 )      3.      FAIR DEBT COLLECTION
21                                               )              Fair Debt Collection
                                                 )              Practices Act, 15 U.S.C. §
22                                                              1692, et seq..]
                                                 )      4.      VIOLATIONS OF THE
23                                               )              ROSENTHAL FAIR DEBT
                                                 )              COLLECTION PRACTICES
24                                                              ACT [CAL. CIV. CODE
                                                 )              §1788 ET SEQ.]
25
                                                 )
26                                               )   DEMAND FOR JURY TRIAL
27
                                                 )

28



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 1         Plaintiff PAUL HAMMOND (“Plaintiff”), individually and on behalf of all
 2   others similarly situated, alleges the following against Defendant WESTLAKE
 3   SERVICES, LLC d/b/a WESTLAKE FINANCIAL SERVICES upon information
 4   and belief based upon personal knowledge:
 5                                   INTRODUCTION
 6         1.     Plaintiff’s Class Action Complaint is brought pursuant to the
 7   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
 8         2.     Plaintiff, individually, and on behalf of all others similarly situated,
 9   brings this Complaint for damages, injunctive relief, and any other available legal
10
     or equitable remedies, resulting from the illegal actions of Defendant             in
11
     negligently, knowingly, and/or willfully contacting Plaintiff no Plaintiff’s cellular
12
     telephone, thereby the TCPA, 47 U.S.C. § 227. Plaintiff alleges as follows upon
13
     personal knowledge as to himself and his own acts and experiences, and, as to all
14
     other matters, upon information and belief, including investigation conducted by
15
     his attorneys.
16
           3.     In addition to Plaintiff’s Class Claims, Plaintiff also brings an action
17
18
     for damages as an individual consumer for Defendant’s violations of the federal

19   Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq. (hereinafter

20   “FDCPA”) and the Rosenthal Fair Debt Collection Practices Act, Cal Civ. Code
21   §1788, et seq. (hereinafter “RFDCPA”) which prohibit debt collectors from
22   engaging in abusive, deceptive, and unfair practices.
23                            JURISDICTION AND VENUE
24
25         4.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
26   a resident of California, seeks relief on behalf of a Class, which will result in at
27   least one class member belonging to a different state than that of Defendant, a
28   California company that does business in the state of California. Plaintiff also seeks


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 1   up to $1,500.00 in damages for each call in violation of the TCPA, which, when

 2   aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
 3   threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and
 4   the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”) are
 5   present, and this Court has jurisdiction.
 6         5.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 over
 7   Plaintiff’s claims arising under the FDCPA, 15 U.S.C. § 1692, et seq.. Ancillary to
 8   this claim, this Court has jurisdiction pursuant to 28 U.S.C. § 1367(a) over
 9   Plaintiff’s claims arising under the RFDCPA, Cal. Civ. Code § 1788, et seq..
10
           6.     Venue is proper in the United States District Court for the Central
11
     District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
12
     business within the State of California and Plaintiff resides within this District.
13
14                                        PARTIES
15         7.     Plaintiff, PAUL HAMMOND (“PLAINTIFF”), is a natural person
16   residing in Los Angeles County in the state of California, and is a “person” as
17   defined by 47 U.S.C. § 153(39). Furthermore, Plaintiff is a “consumer” as defined
18   by the FDCPA, 15 U.S.C. §1692a(3) and a “debtor” as defined by the RFDCPA,
19   Cal. Civ. Code § 1788.2(h).
20         8.     At all relevant times herein, DEFENDANT, WESTLAKE
21   SERVICES,        LLC      d/b/a     WESTLAKE           FINANCIAL         SERVICES
22   (“DEFENDANT”), is finance company, and is a “person” as defined by 47 U.S.C.
23
     § 153(39). Furthermore, Defendant, at all relevant times herein, was a company
24
     engaged, by use of the mails and telephone, in the business of collecting a debt
25
     from PLAINTIFF which qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5).
26
     DEFENDANT regularly attempts to collect debts alleged to be due another, and
27
     therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6) and
28



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 1   the RFDCPA, Cal. Civ. Code § 1788.2(c).
 2         9.      The above named Defendant, and its subsidiaries and agents, are
 3   collectively referred to as “Defendants.” The true names and capacities of the
 4   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 5   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 6
     names. Each of the Defendants designated herein as a DOE is legally responsible
 7
     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
 8
     the Complaint to reflect the true names and capacities of the DOE Defendants
 9
     when such identities become known.
10
           10.     Plaintiff is informed and believes that at all relevant times, each and
11
     every Defendant was acting as an agent and/or employee of each of the other
12
     Defendants and was acting within the course and scope of said agency and/or
13
14
     employment with the full knowledge and consent of each of the other Defendants.

15   Plaintiff is informed and believes that each of the acts and/or omissions

16   complained of herein was made known to, and ratified by, each of the other
17   Defendants.
18                         FACTUAL ALLEGATIONS – TCPA
19
20         11.     Beginning in or around November of 2018, Defendant contacted

21   Plaintiff on her cellular telephone number ending in -8791, in an effort to collect
22   an alleged debt owed from Plaintiff.
23         12.     Defendant called Plaintiff from telephone numbers confirmed to
24   belong to Defendant, including without limitation (818) 924-3879, (818) 924-3872,
25   (818) 924-2991, (818) 924-2430, (818) 924-3850, (888) 739-9192, (888) 706-
26   3772, (424) 381-0886.
27         13.     In its efforts to collect the alleged debt owed from Plaintiff, Defendant
28   used an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1)


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 1   to place its daily calls to Plaintiff seeking to collect an alleged debt owed.

 2         14.    Defendant’s calls constituted calls that were not for emergency
 3   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 4         15.    Defendant’s calls were placed to telephone number assigned to a
 5   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 6   pursuant to 47 U.S.C. § 227(b)(1).
 7         16.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 8   express consent” to receive calls using an automatic telephone dialing system or an
 9   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
10
     227(b)(1)(A). Furthermore, Plaintiff orally revoked any and all consent to be
11
     contacted using an automated telephone dialing system, to the extent any ever
12
     existed.
13
14                        FACTUAL ALLEGATIONS – FDCPA
15         17.    In addition to the facts pled above, at various times prior to the filing
16   of the instant complaint, including within one year preceding the filing of this
17   complaint, DEFENDANT contacted PLAINTIFF in an attempt to collect an
18   alleged outstanding debt.
19         18.    On or about November 2018, Plaintiff began receiving numerous
20   calls from Defendant.
21         19.    Each of these calls were made to Plaintiff in connection with
22   collection on an alleged debt.
23
           20.    On several occasions, Plaintiff told Defendant to stop calling her, but
24
     Defendant continued to call.
25
           21.    DEFENDANT’S conduct violated the FDCPA and RFDCPA in
26
     multiple ways, including but not limited to:
27
28



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 1               a) Causing a telephone to ring repeatedly or continuously to annoy
                    Plaintiff (Cal. Civ. Code § 1788.11(d));
 2
 3               b) Communicating, by telephone or in person, with Plaintiff with such
                    frequency as to be unreasonable and to constitute an harassment to
 4
                    Plaintiff under the circumstances (Cal. Civ. Code § 1788.11(e));
 5
 6
                 c) Causing Plaintiffs telephone to ring repeatedly or continuously with
                    intent to harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));
 7
 8               d) Communicating with Plaintiff at times or places which were known
                    or should have been known to be inconvenient for Plaintiff (15
 9                  U.S.C. § 1692c(a)(1)); and
10
                 e) Engaging in conduct the natural consequence of which is to harass,
11
                    oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).
12
13         22.      As a result of the above violations of the FDCPA and RFDCPA,
14   Plaintiff suffered and continues to suffer injury to PLAINTIFF’S feelings, personal
15   humiliation, embarrassment, mental anguish and emotional distress, and
16   DEFENDANT is liable to PLAINTIFF for PLAINTIFF’S actual damages,
17
     statutory damages, and costs and attorney’s fees.
18
19
                             CLASS ACTION ALLEGATIONS
20
           23.      Plaintiff brings this action individually and on behalf of all others
21
     similarly situated, as a member of the proposed class (hereafter “The Class”)
22
     defined as follows:
23
24
                    All persons within the United States who received any
25                  telephone calls from Defendant to said person’s cellular
26                  telephone made through the use of any automatic
                    telephone dialing system or an artificial or prerecorded
27                  voice and such person had not previously consented to
28                  receiving such calls within the four years prior to the


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 1                filing of this Complaint

 2
           24.    Plaintiff represents, and is a member of, The Class, consisting of All
 3
     persons within the United States who received any collection telephone calls from
 4
     Defendant to said person’s cellular telephone made through the use of any
 5
     automatic telephone dialing system or an artificial or prerecorded voice and such
 6
     person had not previously not provided their cellular telephone number to
 7
     Defendant within the four years prior to the filing of this Complaint.
 8
           25.    Defendant, its employees and agents are excluded from The Class.
 9
     Plaintiff does not know the number of members in The Class, but believes the Class
10
     members number in the thousands, if not more. Thus, this matter should be
11
     certified as a Class Action to assist in the expeditious litigation of the matter.
12
           26.    The Class is so numerous that the individual joinder of all of its
13
     members is impractical. While the exact number and identities of The Class
14
     members are unknown to Plaintiff at this time and can only be ascertained through
15
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
16
     The Class includes thousands of members.           Plaintiff alleges that The Class
17
     members may be ascertained by the records maintained by Defendant.
18
           27.    Plaintiff and members of The Class were harmed by the acts of
19
     Defendant in at least the following ways: Defendant illegally contacted Plaintiff
20
     and Class members via their cellular telephones thereby causing Plaintiff and Class
21
     members to incur certain charges or reduced telephone time for which Plaintiff and
22
     Class members had previously paid by having to retrieve or administer messages
23
     left by Defendant during those illegal calls, and invading the privacy of said
24
     Plaintiff and Class members.
25
           28.    Common questions of fact and law exist as to all members of The
26
     Class which predominate over any questions affecting only individual members of
27
     The Class. These common legal and factual questions, which do not vary between
28
     Class members, and which may be determined without reference to the individual


                                   CLASS ACTION COMPLAINT
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 1   circumstances of any Class members, include, but are not limited to, the following:
 2                a.    Whether, within the four years prior to the filing of this
 3                      Complaint, Defendant made any collection call (other than a
 4                      call made for emergency purposes or made with the prior
 5                      express consent of the called party) to a Class member using
 6                      any automatic telephone dialing system or any artificial or
 7                      prerecorded voice to any telephone number assigned to a
 8                      cellular telephone service;
 9                b.    Whether Plaintiff and the Class members were damages
10                      thereby, and the extent of damages for such violation; and
11                c.    Whether Defendant should be enjoined from engaging in such
12                      conduct in the future.
13         29.    As a person that received numerous collection calls from Defendant
14   using an automatic telephone dialing system or an artificial or prerecorded voice,
15   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
16   typical of The Class.
17         30.    Plaintiff will fairly and adequately protect the interests of the members
18   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
19   class actions.
20         31.    A class action is superior to other available methods of fair and
21   efficient adjudication of this controversy, since individual litigation of the claims
22   of all Class members is impracticable. Even if every Class member could afford
23   individual litigation, the court system could not. It would be unduly burdensome
24   to the courts in which individual litigation of numerous issues would proceed.
25   Individualized litigation would also present the potential for varying, inconsistent,
26   or contradictory judgments and would magnify the delay and expense to all parties
27   and to the court system resulting from multiple trials of the same complex factual
28   issues. By contrast, the conduct of this action as a class action presents fewer


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 1   management difficulties, conserves the resources of the parties and of the court
 2   system, and protects the rights of each Class member.
 3         32.    The prosecution of separate actions by individual Class members
 4   would create a risk of adjudications with respect to them that would, as a practical
 5   matter, be dispositive of the interests of the other Class members not parties to such
 6   adjudications or that would substantially impair or impede the ability of such non-
 7   party Class members to protect their interests.
 8         33.    Defendant has acted or refused to act in respects generally applicable
 9   to The Class, thereby making appropriate final and injunctive relief with regard to
10   the members of The Class as a whole.
11
12                             FIRST CAUSE OF ACTION
13          Negligent Violations of the Telephone Consumer Protection Act
14                                 47 U.S.C. §227 et seq.
15                    By Plaintiff and The Class Against Defendant
16         34.    Plaintiff repeats and incorporates by reference into this cause of
17   action the allegations set forth above at Paragraphs 1-33.
18         35.    The foregoing acts and omissions of Defendant constitute numerous
19   and multiple negligent violations of the TCPA, including but not limited to each
20   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
21         36.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
22   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
23   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
24         37.    Plaintiff and the Class members are also entitled to and seek
25   injunctive relief prohibiting such conduct in the future.
26   ///
27   ///
28



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 1                            SECOND CAUSE OF ACTION
 2     Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                            Act
 4                                  47 U.S.C. §227 et seq.
 5                     By Plaintiff and The Class Against Defendant
 6           38.   Plaintiff repeats and incorporates by reference into this cause of
 7    action the allegations set forth above at Paragraphs 1-33.
 8           39.   The foregoing acts and omissions of Defendant constitute numerous
 9    and multiple knowing and/or willful violations of the TCPA, including but not
10    limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
11    seq.
12           40.   As a result of Defendant’s knowing and/or willful violations of 47
13    U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
14    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16           41.   Plaintiff and the Class members are also entitled to and seek
17    injunctive relief prohibiting such conduct in the future.
18                              THIRD CAUSE OF ACTION
19             Violations of the Federal Fair Debt Collection Practices Act
20                                 15 U.S.C. § 1692 et seq.
21                     By Plaintiff, Individually, Against Defendant
22
23           42.   Plaintiff repeats and reincorporates by reference into this cause of

24    action allegations set forth above at paragraphs 1-22.
25           43.   To the extent that Defendant’s actions, counted above, violated the
26    RFDCPA, those actions were done knowingly and willfully.
27    ///
28    ///


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 1                            FOURTH CAUSE OF ACTION
 2           Violations of the Rosenthal Fair Debt Collection Practices Act
 3                              Cal. Civ. Code § 1788 et seq.
 4                     By Plaintiff, Individually, Against Defendant
 5
 6          44.    Plaintiff repeats and reincorporates by reference into this cause of

 7    action allegations set forth above at paragraphs 1-22.
 8
            45.    To the extent that Defendant’s actions, counted above, violated the
 9
10    RFDCPA, those actions were done knowingly and willfully.
11
                                   PRAYER FOR RELIEF
12
      WHEREFORE, Plaintiff requests judgment against Defendant for the following:
13
                                FIRST CAUSE OF ACTION
14
            Negligent Violations of the Telephone Consumer Protection Act
15
                                    47 U.S.C. §227 et seq.
16
                   As a result of Defendant’s negligent violations of 47 U.S.C.
17
                   §227(b)(1), Plaintiff and the Class members are entitled to and
18
                   request $500 in statutory damages, for each and every violation,
19
                   pursuant to 47 U.S.C. 227(b)(3)(B).
20
                   Any and all other relief that the Court deems just and proper.
21
                              SECOND CAUSE OF ACTION
22
       Knowing and/or Willful Violations of the Telephone Consumer Protection
23
                                              Act
24
                                    47 U.S.C. §227 et seq.
25
                   As a result of Defendant’s willful and/or knowing violations of 47
26
                   U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
27
                   and request treble damages, as provided by statute, up to $1,500, for
28



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 1                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
 2                U.S.C. §227(b)(3)(C).
 3               Any and all other relief that the Court deems just and proper.
 4                             THIRD CAUSE OF ACTION
 5            Violations of the Federal Fair Debt Collection Practices Act
 6                               15 U.S.C. § 1692 et seq.
 7
 8          WHEREFORE, Plaintiff respectfully prays that judgment be entered against

 9    Defendant for the following:
10
11                A.    Actual damages;
12                B.    Statutory damages for willful and negligent violations;
13                C.    Costs and reasonable attorney’s fees,
14                D.    For such other and further relief as may be just and proper.
15
16                             FOURTH CAUSE OF ACTION
17           Violations of the Rosenthal Fair Debt Collection Practices Act
18                            Cal. Civ. Code § 1788 et seq.
19
20          WHEREFORE, Plaintiff respectfully prays that judgment be entered against
21
      Defendant for the following:
22
23                A.    Actual damages;
24                B.    Statutory damages for willful and negligent violations;
25                C.    Costs and reasonable attorney’s fees,
26                D.    For such other and further relief as may be just and proper.
27
28



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 1                                     TRIAL BY JURY
 2          46.    Pursuant to the seventh amendment to the Constitution of the United
 3    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
 5                 Respectfully submitted this 19th day of February.
 6
 7
                                 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 8
 9
                                 By:   /s/ Todd M. Friedman
10                                     Todd M. Friedman
11                                     Law Offices of Todd M. Friedman
                                       Attorney for Plaintiff
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